 Fill in this information to identify the case:
B 10 (Supplement 2) (12/11)           (post publication draft)
 Debtor 1               Charlene R House
                       __________________________________________________________________


 Debtor 2               ________________________________________________________________
 (Spouse, if filing)

                                            Middle                           PA
 United States Bankruptcy Court for the: ______________________ District of __________
                                                                             (State)
 Case number
                        24-00941
                        ___________________________________________




Official Form 410S2
Notice of Postpetition Mortgage Fees, Expenses, and Charges                                                                           12/16

If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
debtor's principal residence, you must use this form to give notice of any fees, expenses, and charges incurred after the bankruptcy
filing that you assert are recoverable against the debtor or against the debtor's principal residence.
File this form as a supplement to your proof of claim. See Bankruptcy Rule 3002.1.


                   Santander Bank, N.A
 Name of creditor: _______________________________________                                                             5
                                                                                           Court claim no. (if known): __________________

 Last 4 digits of any number you use to                   7 ____
                                                               2 ____
                                                                 0 ____
                                                                      5
 identify the debtor’s account:                           ____

 Does this notice supplement a prior notice of postpetition fees,
 expenses, and charges?
 
 ✔
   No
  Yes. Date of the last notice: ____/____/_____

 Part 1:         Itemize Postpetition Fees, Expenses, and Charges

 Itemize the fees, expenses, and charges incurred on the debtor’s mortgage account after the petition was filed. Do not include any
 escrow account disbursements or any amounts previously itemized in a notice filed in this case. If the court has previously
 approved an amount, indicate that approval in parentheses after the date the amount was incurred.

      Description                                                        Dates incurred                                     Amount

  1. Late charges                                                        _________________________________            (1)   $ __________
  2. Non-sufficient funds (NSF) fees                                     _________________________________            (2)   $ __________
  3. Attorney fees                                                       8/01/24
                                                                         _________________________________            (3)     650.00
                                                                                                                            $ __________
  4. Filing fees and court costs                                         _________________________________            (4)   $ __________
  5. Bankruptcy/Proof of claim fees                                      _________________________________            (5)   $ __________
  6. Appraisal/Broker’s price opinion fees                               _________________________________            (6)   $ __________
  7. Property inspection fees                                            _________________________________            (7)   $ __________
  8. Tax advances (non-escrow)                                           _________________________________            (8)   $ __________
  9. Insurance advances (non-escrow)                                     _________________________________            (9)   $ __________
 10. Property preservation expenses. Specify:_______________             _________________________________           (10)   $ __________
 11. Other. Specify:____________________________________                 _________________________________           (11)   $ __________
 12. Other. Specify:____________________________________                 _________________________________           (12)   $ __________
 13. Other. Specify:____________________________________                 _________________________________           (13)   $ __________
 14. Other. Specify:____________________________________                 _________________________________           (14)   $ __________


 The debtor or trustee may challenge whether the fees, expenses, and charges you listed are required to be paid.
 See 11 U.S.C. § 1322(b)(5) and Bankruptcy Rule 3002.1.


Official Form 410S2                             Notice of Postpetition Mortgage Fees, Expenses, and Charges                          page 1

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Debtor 1
                 Charlene R House
             _______________________________________________________
                                                                                                               24-00941
                                                                                           Case number (if known) _____________________________________
             First Name       Middle Name               Last Name




 Part 2:    Sign Here


  The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and
  telephone number.
  Check the appropriate box.

  
  ✔
    I am the creditor.
   I am the creditor’s authorized agent.

  I declare under penalty of perjury that the information provided in this claim is true and correct to the best
  of my knowledge, information, and reasonable belief.



            __________________________________________________
                 Signature
                                                                                           Date
                                                                                                   09    13 24
                                                                                                   ____/_____/________




                 Tabitha Sosa                                                                      Bankruptcy Administrator
 Print:          _________________________________________________________                 Title   ___________________________
                 First Name                      Middle Name        Last Name



 Company          Santander Bank, N.A.
                 _________________________________________________________



 Address          450 Penn St. MC: PA-450-FB1
                 _________________________________________________________
                 Number                 Street
                 Reading, PA 19602
                 ___________________________________________________
                 City                                               State       ZIP Code




 Contact phone            988 _________
                  610 _____–
                 (______)     0407                                                                 DeftBkr@santander.us
                                                                                           Email ________________________




Official Form 410S2                                Notice of Postpetition Mortgage Fees, Expenses, and Charges                                page 2

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                                    UNITED STATES BANKRUPTCY COURT
                                    MIDDLE DISTRICT OF PENNSYLVANIA


In Re:
Charlene R House                                                     Chapter 13
                                                                     Case No. 24-00941
                                                                     Honorable Henry W Van Eck
Debtor
____________________________________________/

                                          CERTIFICATE OF SERVICE

       I, Tabitha Sosa of Santander Bank, N.A., do hereby certify that on September 13, 2024 I caused to be served
a copy of the Notice of Post-petition Mortgage Fees, Expenses, and Charges on the service list below by having a
copy of the same mailed by the first class mail, postage prepaid or other method specified on service list.

         Signed under the penalties of perjury, this 13th day of September 2024.


                                                              _____________________________________________
                                                              Tabitha Sosa
                                                              Santander Bank, N.A.
                                                              Bankruptcy Administrator
                                                              450 Penn Street
                                                              Reading, PA 19602
                                                              (610) 988-0407
                                                              Email: DeftBkr@santander.us

VIA US MAIL
Charlene R House
2701 N 5th St
Harrisburg, PA 17110



VIA ECF
Jack N Zaharopoulos
8125 Adams Dr Ste A
Hummelstown, PA 17036

Michael A Cibik
Help@Cibiklaw.com




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